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          IN THE UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF GEORGIA
                   SAVANNAH DIVISION


In the matter of the Complaint of
Wadielnil for Touristic
Investments, as Owner of the M/Y          CASE NO.: CV420-080
Suzanna 1, for Exoneration from
or Limitation of Liability,



         ORDER SETTING SETTLEMENT CONFERENCE

     This case has been set for a settlement conference before the

undersigned at 8:00 a.m. EST (1:00 p.m. GMT) on November 10, 2020.

The conference shall be conducted via video conference with participation

instructions to be provided to the parties under separate cover.

     The Court believes the parties should fully explore and consider

settlement at the earliest opportunity. Early consideration of settlement

can prevent unnecessary litigation, allowing the parties to avoid the

substantial cost, expenditure of time, and stress that are typically part of

the litigation process.   Even for those cases that cannot be resolved

through settlement, early consideration of settlement allows the parties to

better understand the factual and legal nature of their dispute and
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streamline the issues to be litigated. To that end, the Court offers a

settlement conference option to parties who choose to participate.

     Consideration of settlement is a serious matter that requires

thorough preparation prior to the settlement conference. As a result, and

unless otherwise noted, parties are DIRECTED to comply with the

following procedures in preparation for the settlement conference.

Counsel are advised to review this order carefully.       FAILURE TO

COMPLY WITH THESE PROCEDURES IN A TIMELY MANNER

WILL RESULT IN CANCELLATION OF THE CONFERENCE.

               IDENTIFICATION OF THE PARTIES

     Though Wadielnil for Touristic Investments (“Wadielnil”) is the

nominal plaintiff in this case, the Court understands that all claims for

damages arise from a wrongful death action brought by Sulzbach against

Aggressor Adventures, LLC, Wayne Works Marine, LLC and Wayne

Works, LLC (“Aggressor Entities”). The claim was filed in the courts of

Richmond County, Georgia, which was removed to the Augusta Division

of this Court. See Sulzbach v. Aggressor Adventures, LLC, CV 1:20-091

(S.D. Ga. Jul. 1, 2020). The Court further understands that the Aggressor

Entities will seek indemnification against Wadielnil for their liability in
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the wrongful death action. In order to practically frame the dispute for

purposes of the settlement conference, the Court will treat Sulzbach as

plaintiff and the Aggressor Entities and Wadielnil as co-defendants. If any

party objects to this framing, please provide notice to the Court by no later

than November 6, 2020. The Aggressor Entities and Wadielnil are should

also confer and coordinate their indemnity obligations in advance of the

settlement conference.

        PARTIES’ EXCHANGE OF DEMAND AND OFFER

      The Court normally requires plaintiff’s counsel to make a formal

written settlement demand on defendants’ counsel no later than twenty-

one days prior to the settlement conference. Defendants’ counsel would,

in turn, be required to submit a written offer to plaintiff’s counsel no later

than fourteen days prior to the conference. Due to timing limitations, the

Court will not require this exchange. The parties have, however, advised

the Court that Counsel for Wadielnil for Touristic Investments has already

provided a settlement offer and that Sulzbach will be prepared to offer its

counter-demand at the time of the conference.
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              CONFIDENTIAL PARTY SUBMISSIONS

    On or before November 6, 2020, each party shall email a

confidential, ex parte1 letter to the Courtroom Deputy Clerk at

molly_davenport@gas.uscourts.gov. The letters should include:

        1)    the history of any settlement negotiations to date and each
              party’s general settlement posture;

        2)    a discussion of the likelihood that the wrongful death action
              currently pending before the Augusta Division, Sulzbach v.
              Aggressor Adventures, LLC, CV 1:20-091 (S.D. Ga. Jul. 1,
              2020), will be consolidated into this concursus action or
              remanded back to the Richmond County courts;

        3)    a discussion of, were the entire concursus to be dismissed,
              the likelihood that it, in its entirety or partially, would be
              litigated in Egypt;

        4)    a discussion of the likely result of any Egyptian action and
              the expectation of how long such litigation would take to
              reach a resolution;

        5)    the facts you believe you can prove at trial;

        6)    a candid discussion of both the strengths and weaknesses of
              each side of the case;

        7)    a description of any liability disputes;

        8)    a representation as to whether discovery has been completed
              and, if not, what discovery remains;

        9)    the identification of any outstanding motions which could
              have an effect on settlement;


1As, these letters are confidential they should neither be served on opposing
parties nor filed on the docket.
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           10)    an evaluation of the maximum and minimum damage
                  awards you believe likely;

           11)    a discussion of any limitations on liability under the
                  Limitation of Liability Act, Death on the High Seas Act or
                  Egyptian law;

           12)    whether there are any non-monetary compensation
                  arrangements which the parties require (apologies,
                  confidentiality statements, etc.)

           13)    an estimate of the attorneys’ fees and costs both to date and
                  through trial; and,

           14)    an estimate of how much time the Court should set aside for
                  the settlement conference.

The letters should be written with candor. The letters should be no more

than ten pages single-spaced and may contain no more than 15 additional

pages of exhibits. Contemporaneously with the emailing of the letters,

counsel for each party shall also complete and email to the Courtroom

Deputy Clerk the undersigned’s Settlement Conference Worksheet which

is attached to this Order.2 If any party believes that additional individuals

or entities who are currently not parties to the case are necessary

participants in any mediation (e.g., third party lien holders), they are

directed to indicate so on the Worksheet in the Additional Comments

section.


2
    The parties are expected to jointly complete the worksheet.
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    PREPARATION FOR THE SETTLEMENT CONFERENCE3

      For many parties, this will be the first time they will participate in a

court-supervised settlement conference.                Therefore, prior to the

settlement conference, counsel shall provide a copy to, and discuss this

Order with, their clients and any other person who will attend the

settlement conference. All participants should be prepared to answer the

following questions at the settlement conference:

        1)      What are your goals in this litigation and what problems
                would you like to address in the settlement conference?
                What do you understand the opposing side's goals to be?

        2)      What issues need to be resolved?

        3)      What are the strengths and weaknesses of your case?

        4)      Do you understand the opposing side's view of the case?
                What is wrong with their perception? What is right with
                their perception?

        5)      What are the points of agreement and disagreement between
                the parties? Factual? Legal?

        6)      What are the impediments to settlement? Financial?
                Emotional? Legal?




3
 The Court expects the parties to address each other with courtesy and respect. Parties
are encouraged to be frank and open in their discussions. As a result, (unless otherwise
agreed upon) statements made by any party during the settlement conference are not
to be used in discovery and will not be admissible at trial.
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        7)     Does settlement or further litigation better enable you to
               accomplish your goals? What is your best alternative to a
               negotiated resolution?

        8)     Are there possibilities for a creative resolution of the
               dispute?

        9)     Do you have adequate information to discuss settlement? If
               not, how will you obtain sufficient information to make a
               meaningful settlement discussion possible?


    ATTENDANCE OF PARTIES AND INSURERS REQUIRED

    The Court requires that parties and all individuals necessary

to accomplish full and complete settlement personally attend the

settlement conference. This may include a representative of an

insurance company. In either circumstance, an individual with

full settlement authority must be present in person. An uninsured

corporate party shall appear by a representative authorized to negotiate,

and who has full authority to settle the matter.            Having a client or

insurance representative with authority available only by telephone is not

an acceptable alternative, except under the most extraordinary of

circumstances and where prior approval of the Court is granted. 4


4
  As a result of the ongoing global pandemic related to COVID-19, the Court has
temporarily suspended its in person appearance requirement for settlement
conferences. At present, participation via the Court’s selected video conferencing
platform will be an acceptable (and required) substitute for in-person appearance.
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                        CONFERENCE FORMAT

    The Court will generally employ a format similar to private

mediation: to wit, a joint session with opening remarks by the Court to

be followed by a brief (i.e., no more than 10 minute) presentation by

each party and then separate caucuses with each party.5 The Court

expects both the lawyers and the party representatives to be fully

prepared to participate at the mediation session. The Court encourages

all parties to keep an open mind in order to re-assess their previous

positions and discover creative means for resolving the dispute.



      SO ORDERED this 2nd day of November, 2020.




                                             _______________________________
                                               ______
                                                    _______
                                                          _____________
                                             Christopher L. Ray
                                              United States Magistrate Judge
                                              Southern District of Georgia.




5
 The parties have advised the Court that they do not anticipate the need for opening
statements; however, wish to reserve a few moments for brief remarks at the beginning
of the session.
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            SETTLEMENT CONFERENCE WORKSHEET
                MAGISTRATE JUDGE CHRISTOPHER L. RAY

            United States District Court – Southern District of Georgia
                                  125 Bull Street
                               Savannah Ga, 21401

                        Molly Davenport, Courtroom Deputy
                               Office: (912-650-4035)
                     e-mail: molly_davenport@gas.uscourts.gov



I.       Date of Settlement Conference: Click or tap to enter a date.

II.      Parties Attending

         a. For Margret Mary Sulzbach

                i. Counsel:                      _________________________________

               ii. Client Representative:        _________________________________

                   Authority to settle?          Yes    ‫܆‬         No      ‫܆‬

               iii. Additional Attendees:        _________________________________

                   Authority to settle?          Yes    տ         No      տ

               iv. Do the parties request that anyone be permitted to attend via
                   telephone? If so who and why? Such a request will only be
                   granted upon a substantial showing of good cause. Mere
                   convenience shall not be an adequate basis.

                   ____________________________________________________________
                   ____________________________________________________________
                   ____________________________________________________________
                   ____________________________________________________________
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    b. For Aggressor Adventures, LLC, et al.:

           i.   Counsel:                 _________________________________

          ii.   Client Representative:   _________________________________

                Authority to settle?            Yes   ‫܆‬       No         ‫܆‬

         iii.   Additional Attendees:    _________________________________

                Authority to settle?            Yes   տ       No         տ

         iv.    Do the parties request that anyone be permitted to attend via
                telephone? If so who and why? Such a request will only be
                granted upon a substantial showing of good cause. Mere
                convenience shall not be an adequate basis.

                __________________________________________________________
                __________________________________________________________
                __________________________________________________________
                __________________________________________________________

    c. For Wadielnil for Touristic Investments:

          v.    Counsel:                 _________________________________

         vi.    Client Representative:   _________________________________

                Authority to settle?            Yes   ‫܆‬       No         ‫܆‬

         vii.   Additional Attendees:    _________________________________

                Authority to settle?            Yes   տ       No         տ
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           viii.   Do the parties request that anyone be permitted to attend via
                   telephone? If so who and why? Such a request will only be
                   granted upon a substantial showing of good cause. Mere
                   convenience shall not be an adequate basis.

                   __________________________________________________________
                   __________________________________________________________
                   __________________________________________________________
                   __________________________________________________________




III.   Additional Comments:

       _____________________________________________________________________
       _____________________________________________________________________
       _____________________________________________________________________
       _____________________________________________________________________
       _____________________________________________________________________
